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MUERTE MID Lela Cermcem( (THe yeti mer kin

United States Bankruptcy Court for the:

INTAKE USBC
14 pi 2:53

Middle District of Florida

(State) 14 at
Case number (if known): Chapter T Fal |
(iF known) pter_ xt CC Check if this is an

Lt. amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, fnstructions for Bankruptcy Forms for Non-individuals, is available.

06/22

1. Debtor's name Genie Investments NV Inc.

2. Allother names debtor used

in the last 8 years

Include any assumed names,

trade names, and doing business

as names

3. Debtor’s federal Employer 8 7
Identification Number (EIN) TT TTS TS TTT

4. Debtor’s address Principal place of business Mailing address, if different from principal place

of business

103 Century 21 Drive Suite 100 #4

Number Street Number Street
PO Box 60443
P.O. Box
Jacksonville FL 32216 Jacksonville FL 32236
City State ZIP Cade City State ZIP Code

Location of principal assets, if differant from

principal place of business
Duval

County

Number Street

City State ZIP Code

5. Debtor’s website (URL)

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Debtor Case number tf known)
Name

2d Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP)
(C) Partnership (excluding LLP)
QO other. Specify:

s. Type of debtor

A. Check !
7. Describe debtor's business eek one

CQ) Health Care Business (as defined in 11 U.S.C. § 101(27A))
Q) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
LJ) Railroad (as defined in 11 U.S.C. § 101(44))

CI Stockbroker (as defined in 11 U.S.C. § 101(53A))

L) Commodity Broker (as defined in 11 U.S.C. § 101(6))

a Clearing Bank (as defined in 11 U.S.C. § 781(3))

Gi] None of the above

B. Check all that apply:

o) Tax-exempt entity (as described in 26 U.S.C. § 501)

O) Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

C) investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

Cc. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See -
http:/wwww.uscourts.qov/four-digit-national-association-naics-codes .
5 2 3 9

a. Under which chapter of the Check one:
Bankruptcy Code is the

debtor filing? O) Chapter 7
2 Chapter 9

A debtor who i Ib @] Chapter 11. Check alf that apply.

ebtor who is a “small business . . . .
debtor’ must check the first sub- LJ The debtor is a small business debtor as defined in 11 U.S.C. § 101/51D), and its
box. A debtor as defined in aggregate noncontingent liquidated debts (excluding debts owed to insiders or
§ 1182(1) who elects to proceed affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
under subchapter V of chapter 11 recent balance sheet, statement of operations, cash-flow statement, and federal
(whether or not the debtor is a income tax retum or if any of these documents do not exist, follow the procedure in
“small business debtor’) must 11 U.S.C. § 1116(1)(B).
check the second sub-box. CJ The debtor is a debtor as defined in 11 U.S.C. § 1182(4}, its aggregate

noncontingent liquidated debts (excluding debts owed to insiders or affitiates) are
lass than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(4)(B).

OA plan is being filed with this petition.

LJ Acceptances of the plan were solicited prepetition from one ar more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

LJ The debtor is required to file periodic reports {for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Aftachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy uncer Chapter 17 (Official Form 201A) with this form.

CY The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

L) Chapter 12

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Debtor Case number (rknaun)
Name

9. Were prior bankruptcy cases {X] No
filed by or against the debtor

within the last 8 years? (1 Yes. District When Case number
MMi DD /YYYY
If more than 2 cases, attach a District When . Case numb
rate list. se number
Separaie ist MMi DDI YYYY
40. Are any bankruptcy cases RK) No
pending or being filed by a
business partner or an Cl Yes. Debtor Relationship
affiliate of the debtor? District When
List all cases. if more than 1, MM / DBD fYYYY
attach a separate list. Case number, if known

11. Why Is the case filed in this = Check aif that apply:

district?
Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

Cl) A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12, Does the debtor own or have No
possession of any real
property or personal property
that needs immediate Why does the property need immediate attention? (Gheck aif that apply.)
attention?

LI] Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

CI It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

LC) tt needs to be physically secured or protected from the weather.

CI Itinctudes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

LJ Other

Where is the property?

Number Street

City State ZIP Code

ls the property insured?
LC) No

LJ Yes. Insurance agency

Contact name

Phone

a Statistical and administrative information

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Debtor Case number ¢f known).
Name
13. Debtor’s estimation of Check one:
available funds LJ Funds will be available for distribution to unsecured creditors.

&) After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

1-49 LJ 1,000-5,000 LI 25,001-50,000
14. Estimated number of D 50-99 QD 5,001-10,000 OC) 50,001-100,000
creditors Cl 100-199 C1 10,001-25,000 I More than 100,000
LJ 200-999
LL) $0-$50,000 ) $4,000,001-$10 million (J $500,000,001-$1 billion
18. Estimated assets D2 $50,001-$100,000 © $10,000,001-$50 million C2 $1,000,000,001-$10 billion
CQ $100,001-$500,000 C2  $50,000,001-$100 million OQ) $10,000,000,001-$50 billion
(2 $500,001-$1 million (2 $100,000,001-$500 million CQ) More than $50 billion
a $0-$50,000 2) $1,000,001-§10 million © $500,000,001-$1 billion
16. Estimated liabilities C $50,001-$100,000 Q $10,000,001-$80 miltion 2 $1,000,000,001-$10 billion
Q $100,001-$500,000 ©) $60,000,001-$100 million O $10,000,000,001-$50 billion
O) $800,001-$1 million ‘C] $100,000,001-$500 million (J More than $50 billion

a Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to

$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Dectaration and signature of The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

authorized representative of

debtor petition.

| have been authorized te file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and

correct.

| declare under penalty of perjury that the foregoing is true and correct.

executed on 02 (21/2024
MM,

x . John Michael Cohan

Signature df autfiorized representalv@robdabtor Printed name

Title Director

(Sie) SY) -Z28lo

Official Form 21 Voluntary Petition for Non-Individuals Filing for Bankruptcy

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Debtor

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Case number (known),

4s. Signature of attorney

x

Date
Signature of attormey for debtor MM /DD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code
Contact phone Email address
Bar number State

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

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